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        Palomar Community College District
    9
   10                         UNITED STATES DISTRICT COURT
   11                       SOUTHERN DISTRICT OF CALIFORNIA
   12   KATHRYN KAILIKOLE, an                   Case No: 3:18-cv-02877-AJB-MSB
   13   individual,
                                                [Previously San Diego Superior Court
   14                        Plaintiff,         Case No. 37-2018-00058754-CU-WT-NC
                                                before the Honorable Ronald F. Frazier]
   15          v.
                                                NOTICE OF NEW AUTHORITY IN
   16
        PALOMAR COMMUNITY                       SUPPORT OF DEFENDANT’S
   17   COLLEGE DISTRICT, a                     SPECIAL MOTION TO DISMISS
        governmental entity; and DOES 1         PLAINTIFF’S COMPLAINT
   18   through 25, inclusive,
                                                State Complaint: November 20, 2018
   19                        Defendants.
   20

   21          Defendant Palomar Community College District hereby provides notice to
   22   the Court of the July 22, 2019 California Supreme Court decision entitled Wilson
   23   v. Cable News Network, Inc., (Cal., July 22, 2019, No. S239686) 2019 WL
   24   3281342, a true and correct copy of which is attached for the Court’s convenience
   25   as Exhibit A.
   26          In Wilson, the plaintiff alleged that his employer fired him for unlawful
   27   discriminatory and retaliatory reasons. Defendant, a news organization, filed an
   28                                          1
           NOTICE OF NEW AUTHORITY IN SUPPORT OF DEFENDANT’S SPECIAL MOTION
                                            TO DISMISS PLAINTIFF’S COMPLAINT
                                                         3:18-CV-02877-AJB-MSB
        FPDOCS 35819599.1
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    1   anti-SLAPP motion. The trial court granted the motion, concluding that Cable
    2   News Network engaged in protected activity and that Wilson had not shown that
    3   any of his claims had minimal merit. The court of appeal reversed, concluding that
    4   discrimination and retaliation do not qualify as protected activity, and therefore,
    5   the anti-SLAPP statute did not apply.
    6          The California Supreme Court reversed in part, holding:
    7           (1) The anti-SLAPP statute does apply to employment discrimination and
    8   retaliation claims. (Id. at *1); and
    9           (2) Defendant showed that plaintiff's claims arose in limited part from
   10   protected activity, and therefore, defendant was entitled to a determination of
   11   whether those limited portions of plaintiff's claims had sufficient potential merit to
   12   proceed. (Id. at *15.)
   13          In so holding, the Court reasoned that “[i]n [cases alleging discrimination or
   14   retaliation claims in the employment context], the plaintiff’s allegations about the
   15   defendant's invidious motives will not shield the claim from the same preliminary
   16   screening for minimal merit that would apply to any other claim arising from
   17   protected activity.” (Id. at *1.) The Court also noted that Wilson’s concerns that
   18   the anti-SLAPP might immunize employers from harassment, discrimination, and
   19   retaliation claims was “overstated.” (Id. at *6 [“We see no realistic possibility that
   20   anti-SLAPP motions will become a routine feature of the litigation of
   21   discrimination or retaliation claims.”)
   22    Dated: July 24, 2019                         Respectfully submitted,
   23
                                                      FISHER & PHILLIPS LLP
   24
                                                  By: /s/ Kevonna J. Ahmad
   25                                                 Regina A. Petty
   26
                                                      Adam F. Sloustcher
                                                      Kevonna J. Ahmad
   27                                                 Attorneys for Defendant
                                                      Palomar Community College District
   28                                               2
           NOTICE OF NEW AUTHORITY IN SUPPORT OF DEFENDANT’S SPECIAL MOTION
                                            TO DISMISS PLAINTIFF’S COMPLAINT
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    1                               INDEX OF EXHIBITS
    2

    3

    4   Exhibit A – A true and correct copy of Wilson v. Cable News Network, Inc., (Cal.,
    5   July 22, 2019, No. S239686) 2019 WL 3281342
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           NOTICE OF NEW AUTHORITY IN SUPPORT OF DEFENDANT’S SPECIAL MOTION
                                            TO DISMISS PLAINTIFF’S COMPLAINT
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                                                               Opinion
                  2019 WL 3281342
    Only the Westlaw citation is currently available.          Opinion of the Court by Kruger, J.
             Supreme Court of California.
                                                                *1 Code of Civil Procedure section 425.16 (section
       Stanley WILSON, Plaintiff and Appellant,                425.16), commonly known as the anti-SLAPP statute, allows
                           v.                                  defendants to request early judicial screening of legal claims
          CABLE NEWS NETWORK, INC., et                         targeting free speech or petitioning activities. We consider
           al., Defendants and Respondents.                    two questions concerning the application of the anti-SLAPP
                                                               statute to certain claims arising in the employment context.
                         S239686
                             |                                 The primary question before us concerns the statute’s
                       July 22, 2019                           application to employment discrimination and retaliation
                                                               claims. Here, a journalist alleges that his employer denied
Second Appellate District, Division One, B264944, Los          him promotions, gave him unfavorable assignments, and
Angeles County Superior Court, BC559720, Mel Red               ultimately fired him for unlawful discriminatory and
Recana, Judge                                                  retaliatory reasons. Some courts of appeal, including the court
                                                               in this case, have concluded the anti-SLAPP statute cannot
Attorneys and Law Firms
                                                               be used to screen claims alleging discriminatory or retaliatory
Law Offices of Lisa L. Maki, Lisa L. Maki, Santa Monica,       employment actions. We hold otherwise. The statute contains
Jennifer Ostertag; Shegerian & Associates, Jill P. McDonnell   no exception for discrimination or retaliation claims, and in
and Carney R. Shegerian, Santa Monica, for Plaintiff and       some cases the actions a plaintiff alleges in support of his
Appellant.                                                     or her claim may qualify as protected speech or petitioning
                                                               activity under section 425.16. In such cases, the plaintiff’s
FEM Law Group and F. Edie Mermelstein, Huntington              allegations about the defendant’s invidious motives will not
Beach, for Consumer Attorneys of California as Amicus          shield the claim from the same preliminary screening for
Curiae on behalf of Plaintiff and Appellant.                   minimal merit that would apply to any other claim arising
                                                               from protected activity. The defendant employer in this case
Briggs Law Corporation, Cory J. Briggs and Anthony N.          has shown plaintiff’s claims arise in limited part—though not
Kim, San Diego, for California Taxpayers Action Network as     in whole—from protected activity. The employer is therefore
Amicus Curiae on behalf of Plaintiff and Appellant.            entitled to a determination of whether those limited portions
                                                               of plaintiff’s claims have sufficient potential merit to proceed.
Mitchell Silberberg & Knupp, Adam Levin, Aaron M. Wais,
Los Angeles, Jolene Konnersman and Christopher A. Elliott
                                                               The second question concerns the application of the anti-
for Defendants and Respondents.
                                                               SLAPP statute to the journalist’s claim that defendant
Davis Wright Tremaine, Kelli L. Sager, Rochelle Wilcox         defamed him by privately discussing the alleged reasons
and Dan Laidman, Los Angeles, for Los Angeles Times            for his termination with potential employers and others. We
Communications LLP, CBS Corporation, NBCUniversal              conclude that this claim need not be screened for merit
Media, LLC, American Broadcasting Companies, Inc.,             because these privately communicated remarks were not
Fox Networks Group, Inc., California News Publishers           made in connection with any issue of public significance, as
Association and First Amendment Coalition as Amici Curiae      the statute requires. (See § 425.16, subds. (a), (b)(1), (e)(4).)
on behalf of Defendants and Respondents.                       We thus affirm in part, reverse in part, and remand for further
                                                               proceedings.
Horvitz & Levy, Jeremy B. Rosen, Felix Shafir and Ryan C.
Chapman, Burbank, for California Hospital Association as
Amicus Curiae on behalf of Defendants and Respondents.
                                                                                              I.

                                                               Plaintiff Stanley Wilson began working for Cable News
                                                               Network, Inc., in 1996, and wrote and produced stories for



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the network for more than 17 years. During his tenure, Wilson      editorial standards in reporting on a matter of public interest
covered matters of general public importance, including            furthered CNN’s exercise of free speech rights. The trial court
multiple presidential elections, the Bush v. Gore controversy,     agreed with these arguments, concluded that Wilson had not
the September 11, 2001 attacks, and Hurricane Katrina. For         shown any of his claims had minimal merit, and granted the
his work, Wilson attained recognition in the field, receiving      motion.
three Emmy awards and many other journalism honors.
                                                                   A divided Court of Appeal reversed. (Wilson v. Cable News
In 2004, Wilson, who is African American and Latino, began         Network, Inc. (2016) 6 Cal.App.5th 822, review granted
raising concerns about the network’s treatment of African-         Mar. 1, 2017, S239686 (Wilson); see id. at p. 840 (dis.
American men. He also took a five-week paternity leave             opn. of Rothschild, P. J.).) The majority held the trial court
after the birth of his twin children in 2013. According to         erred in granting the motion to strike Wilson’s employment
Wilson, the network rewarded him with menial assignments           discrimination and retaliation claims because the claims arose
and denied him promotions in favor of younger and less             from “defendants’ allegedly discriminatory and retaliatory
experienced White candidates.                                      conduct against him, not the particular manifestations of the
                                                                   discrimination and retaliation, such as denying promotions,
Wilson’s tenure came to an end in 2014, after Wilson drafted       assigning him menial tasks, and firing him.” (Id. at p.
a story covering the unexpected retirement of Los Angeles          836.) Reasoning that discrimination and retaliation do not
County Sheriff Lee Baca. An editor reviewing the draft             qualify as protected activity, even when committed by a news
flagged several passages that appeared similar to another          organization, the majority concluded the anti-SLAPP statute
news organization’s published story. Citing concerns about         did not apply. (Id. at pp. 834–837.) The dissent disagreed,
plagiarism, the network placed Wilson on leave of absence          urging that the claims arose from CNN’s decision about who
and ultimately fired him.                                          would report the news on its behalf, a decision in furtherance
                                                                   of CNN’s exercise of free speech rights. (Id. at pp. 840–
 *2 Wilson filed suit against Cable News Network, Inc.,            842 (dis. opn. of Rothschild, P. J.).) The majority and dissent
various affiliated corporate entities, and his supervisor. (For    likewise disagreed over the treatment of Wilson’s defamation
simplicity’s sake, we will refer to defendants collectively        claim: The majority thought the trial court was wrong to strike
as CNN.) Wilson’s complaint contains seven causes of               the claim, while the dissent took the opposite view. (See id.
action, six of which challenge CNN’s alleged discrimination        at pp. 837–840; id. at pp. 845–846 (dis. opn. of Rothschild,
and retaliation. Specifically, Wilson alleges he was denied        P. J.).)
promotions, given unfavorable assignments, and ultimately
fired because of his race and other protected characteristics, 1   The Court of Appeal’s decision in this case added to a growing
as well as in retaliation for exercising his right to make         divide over whether, in an employment discrimination or
complaints about discrimination and his right to take parental     retaliation case, the employer’s alleged motive to discriminate
leave. (See Gov. Code, §§ 12940, 12945.2.) He further alleges      or retaliate eliminates any anti-SLAPP protection that might
wrongful termination in violation of the public policy against     otherwise attach to the employer’s employment practices. 3
employment discrimination and retaliation. (See Gantt v.           We took review to answer that question and to address the
Sentry Insurance (1992) 1 Cal.4th 1083, 1089–1097, 4               application of the anti-SLAPP statute to Wilson’s related
Cal.Rptr.2d 874, 824 P.2d 680.) In his seventh and final cause     defamation claim.
of action, Wilson alleges that CNN defamed him by telling
prospective employers and others that Wilson had committed
plagiarism in violation of CNN’s standards and practices.
                                                                                                 II.

CNN filed an anti-SLAPP motion. (§ 425.16.) 2 It argued that        *3 Enacted by the Legislature in 1992, the anti-SLAPP
the first six causes of action arose, in whole or in part, from    statute is designed to protect defendants from meritless
Wilson’s termination, and CNN’s decision to fire Wilson was        lawsuits that might chill the exercise of their rights to speak
in furtherance of its right to determine who should speak on its   and petition on matters of public concern. (See § 425.16,
behalf on matters of public interest. CNN further argued that      subd. (a); Rand Resources, LLC v. City of Carson (2019) 6
the defamation cause of action arose from protected speech         Cal.5th 610, 619, 243 Cal.Rptr.3d 1, 433 P.3d 899; Varian
because its statements as to whether Wilson met CNN’s              Medical Systems, Inc. v. Delfino (2005) 35 Cal.4th 180, 192,


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25 Cal.Rptr.3d 298, 106 P.3d 958.) To that end, the statute          130, 393 P.3d 905), evaluating the context and content of
authorizes a special motion to strike claims “arising from           the asserted activity (FilmOn.com Inc. v. DoubleVerify Inc.
any act of that person in furtherance of the person’s right of       (2019) 7 Cal.5th 133, 144–145, 149, 246 Cal.Rptr.3d 591, 439
petition or free speech under the United States Constitution         P.3d 1156).
or the California Constitution in connection with a public
issue.” (§ 425.16, subd. (b)(1).)

                                                                                                  III.
A court evaluates an anti-SLAPP motion in two steps.
“Initially, the moving defendant bears the burden of                 Wilson’s intentional discrimination and retaliation claims
establishing that the challenged allegations or claims ‘aris[e]      are the centerpiece of his complaint. To prove unlawful
from’ protected activity in which the defendant has engaged.         discrimination, Wilson must show he was a member of a
[Citations.] If the defendant carries its burden, the plaintiff      protected class; was performing competently in the position
must then demonstrate its claims have at least ‘minimal              he held, and suffered an adverse employment action such
merit.’ ” (Park v. Board of Trustees of California State             as termination or demotion; and that other circumstances
University (2017) 2 Cal.5th 1057, 1061, 217 Cal.Rptr.3d 130,         suggest a discriminatory motive. (Guz v. Bechtel National,
393 P.3d 905 (Park).) If the plaintiff fails to meet that burden,    Inc. (2000) 24 Cal.4th 317, 355, 100 Cal.Rptr.2d 352, 8 P.3d
the court will strike the claim. Subject to certain exceptions
                                                                     1089.) 5 To prove unlawful retaliation, Wilson must likewise
not relevant here, a defendant that prevails on a special motion
                                                                     show CNN subjected him to adverse employment actions for
to strike is entitled to attorney fees and costs. (§ 425.16, subd.
                                                                     impermissible reasons—namely, because he exercised rights
(c).)
                                                                     guaranteed him by law. (See Yanowitz v. L’Oreal USA, Inc.
                                                                     (2005) 36 Cal.4th 1028, 1042, 32 Cal.Rptr.3d 436, 116 P.3d
Because the Court of Appeal determined CNN had failed to
                                                                     1123 [retaliation under the Fair Employment and Housing
carry its initial burden, we are here concerned only with the
                                                                     Act]; Rogers v. County of Los Angeles (2011) 198 Cal.App.4th
first step of the analysis. The defendant’s first-step burden
                                                                     480, 491, 130 Cal.Rptr.3d 350 [retaliation for taking family
is to identify the activity each challenged claim rests on
                                                                     leave].) Finally, Wilson’s wrongful termination claim turns on
and demonstrate that that activity is protected by the anti-
                                                                     proof that Wilson was terminated and the reason for the firing
SLAPP statute. A “claim may be struck only if the speech
                                                                     violates public policy. (Gantt v. Sentry Insurance, supra, 1
or petitioning activity itself is the wrong complained of,
and not just evidence of liability or a step leading to some         Cal.4th at pp. 1089–1090, 4 Cal.Rptr.2d 874, 824 P.2d 680.) 6
different act for which liability is asserted.” (Park, supra,        In sum, all of Wilson’s employment-related claims depend
2 Cal.5th at p. 1060, 217 Cal.Rptr.3d 130, 393 P.3d 905.)            on two kinds of allegations: (1) that CNN subjected Wilson
To determine whether a claim arises from protected activity,         to an adverse employment action or actions, and (2) that it
courts must “consider the elements of the challenged claim           took these adverse actions for discriminatory or retaliatory
and what actions by the defendant supply those elements and          reasons. The critical threshold question before us is whether
consequently form the basis for liability.” (Id. at p. 1063, 217     such claims can ever be said to be based on an “act ... in
Cal.Rptr.3d 130, 393 P.3d 905.) Courts then must evaluate            furtherance” of speech and petitioning rights under section
whether the defendant has shown any of these actions fall            425.16, subdivisions (b)(1) and (e)(4). The Court of Appeal
within one or more of the four categories of “ ‘act[s]’ ”            answered no. We disagree.
protected by the anti-SLAPP statute. (§ 425.16, subd. (e);
Equilon Enterprises v. Consumer Cause, Inc. (2002) 29
Cal.4th 53, 66, 124 Cal.Rptr.2d 507, 52 P.3d 685.)                                                 A.

CNN relies on section 425.16, subdivision (e)(4), which               *4 Whether it is unlawful for a person to perform a particular
protects “any other conduct in furtherance of the exercise of        action or engage in a particular activity often depends on
the constitutional right of petition or the constitutional right     whether the person has a good reason for doing it—or, at least,
of free speech in connection with a public issue or an issue         has no bad reason for doing it. For example, it is ordinarily
                                                                     perfectly lawful for a person to possess a screwdriver, but
of public interest.” 4 Whether Wilson’s claims arise from
                                                                     to possess one for the purpose of burglarizing a house is
activity protected by this provision is a matter we consider
                                                                     a criminal offense. (See Pen. Code, § 466.) It is likewise
de novo. (Park, supra, 2 Cal.5th at p. 1067, 217 Cal.Rptr.3d



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lawful to file a lawsuit—even a meritless one—but to do so          supra, 6 Cal.App.5th at p. 836, rev. granted; see Black’s
for the sake of impoverishing an enemy constitutes the tort         Law Dict. (6th ed. 1990) p. 25, col. 2 [defining “act” as
of malicious prosecution. (See Bertero v. National General          the “external manifestation of [an] actor’s will” and, more
Corp. (1974) 13 Cal.3d 43, 49–51, 118 Cal.Rptr. 184, 529            generally, as “an effect produced in the external world by an
P.2d 608.) The laws proscribing intentional discrimination          exercise of the power of a person objectively, prompted by
and retaliation in employment and other areas belong to this        intention”].) Under the first step of the anti-SLAPP analysis,
category of prohibitions. It is ordinarily perfectly permissible    that is the end of the story, for it is the defendant’s acts that
for an employer to decide not to hire, not to promote, or to        matter. (See § 425.16, subd. (b)(1) [protecting “any act of that
fire an employee. The employer may not, however, act based          person” in furtherance of particular rights]; Park, supra, 2
on “the race, religious creed, color, national origin,” or other    Cal.5th at p. 1063, 217 Cal.Rptr.3d 130, 393 P.3d 905 [at the
protected characteristic of the employee (Gov. Code, § 12940,       first step of the anti-SLAPP inquiry, courts must “consider
subd. (a)), or because the employee has exercised certain           the elements of the challenged claim and what actions by
rights guaranteed by law, including the right to complain           the defendant supply those elements and consequently form
about discrimination (e.g., id., subd. (h)).                        the basis for liability,” italics added].) If the acts alleged in
                                                                    support of the plaintiff’s claim are of the sort protected by the
This feature of the antidiscrimination and antiretaliation          anti-SLAPP statute, then anti-SLAPP protections apply.
laws has led some appellate courts, including the Court of
Appeal in this case, to conclude that discrimination and            Resisting this conclusion, Wilson contends that “the basis
retaliation claims fall outside the scope of the anti-SLAPP         of CNN’s alleged liability is not staffing or hiring for a
statute. The appellate court here reasoned that because the         news position, but discriminatory treatment and actions.”
adverse employment actions Wilson alleged would have been           But the discriminatory treatment and actions Wilson alleges
perfectly lawful in the absence of CNN’s discriminatory             in support of his claims are actions related to the staffing
or retaliatory motive, Wilson’s claims must be based on             of CNN’s newsroom. The argument thus boils down to an
CNN’s unprotected discrimination or retaliation—and not             assertion that, for purposes of the first step of the anti-SLAPP
“the particular manifestations of the discrimination and            analysis, a court must accept Wilson’s allegation that the
retaliation, such as denying promotions, assigning him menial       challenged personnel actions were taken for discriminatory
tasks, and firing him.” (Wilson, supra, 6 Cal.App.5th at p.         reasons and are therefore unlawful. (See Wilson, supra, 6
836, rev. granted.) On this view, it does not matter that one       Cal.App.5th at p. 836, rev. granted.) This is not how the anti-
of these “particular manifestations” might otherwise qualify        SLAPP statute works. In deciding an anti-SLAPP motion, a
as protected speech or petitioning activity. If the plaintiff       court must at the second step “ ‘accept as true the evidence
alleges the defendant acted for discriminatory or retaliatory       favorable to the plaintiff.’ ” (Soukup v. Law Offices of Herbert
reasons, the plaintiff’s allegation of illicit motive will defeat   Hafif (2006) 39 Cal.4th 260, 269, fn. 3, 46 Cal.Rptr.3d 638,
any argument for anti-SLAPP protection.                             139 P.3d 30, italics added.) But we have never insisted that
                                                                    the complaint’s allegations be given similar credence in the
This view cannot be squared with either the statutory text          face of contrary evidence at the first step. Such conclusive
or our precedent interpreting it. It is true that a cause of        deference would be difficult to reconcile with the statutory
action for intentional discrimination would be incomplete           admonition that courts must look beyond the pleadings to
without allegations of a discriminatory motive. But a cause         consider any party evidentiary submissions as well. (§ 425.16,
of action for discrimination would likewise be incomplete           subd. (b)(2).)
without allegations of concrete adverse action. (See Guz
v. Bechtel National, Inc., supra, 24 Cal.4th at p. 355, 100          *5 Nor does the anti-SLAPP statute require a defendant
Cal.Rptr.2d 352, 8 P.3d 1089.) For pleading purposes, both          to disprove allegations of illicit motive. At the first step of
are necessary elements; neither is privileged over the other. It    the analysis, the defendant must make two related showings.
follows that even if a plaintiff’s discrimination claim can be      Comparing its statements and conduct against the statute,
said to be based in part on the employer’s purported wrongful       it must demonstrate activity qualifying for protection. (See
motives, it is necessarily also based on the employer’s             § 425.16, subd. (e).) And comparing that protected activity
alleged acts—that is, the various outward “manifestations”          against the complaint, it must also demonstrate that the
of the employer’s alleged wrongful intent, such as failing to       activity supplies one or more elements of a plaintiff’s claims.
promote, giving unfavorable assignments, or firing. (Wilson,        (Id., subd. (b)(1); see Rand Resources, LLC v. City of Carson,



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supra, 6 Cal.5th at p. 620, 243 Cal.Rptr.3d 1, 433 P.3d                  in furtherance of constitutional speech and petition rights, and
899 [“A defendant satisfies the first step of the analysis by            so such claims should be exempt. We rejected the argument.
demonstrating that the ‘conduct by which plaintiff claims                That the claim arose from the filing of a lawsuit, protected
to have been injured falls within one of the four categories             First Amendment activity, was alone dispositive; allegations
described in subdivision (e) [of section 425.16]’ [citation],            that the suit was filed without probable cause—or, for that
and that the plaintiff’s claims in fact arise from that conduct          matter, based on a malicious motive—were irrelevant at the
[citation].”].) At this stage, the question is only whether              first step, and mattered only at the second step. (Id. at pp.
a defendant has made out a prima facie case that activity                739–740, 3 Cal.Rptr.3d 636, 74 P.3d 737; see Soukup v. Law
underlying a plaintiff’s claims is statutorily protected (City           Offices of Herbert Hafif, supra, 39 Cal.4th at pp. 291–292, 46
of Montebello v. Vasquez (2016) 1 Cal.5th 409, 420, 205                  Cal.Rptr.3d 638, 139 P.3d 30.)
Cal.Rptr.3d 499, 376 P.3d 624; Simpson Strong-Tie Co., Inc. v.
Gore (2010) 49 Cal.4th 12, 21, 109 Cal.Rptr.3d 329, 230 P.3d             The same was true in Park. There, when considering “what
1117), not whether it has shown its acts are ultimately lawful.          actions by the defendant supply [the] elements” of a claim
                                                                         (Park, supra, 2 Cal.5th at p. 1063), we determined a
We so held in Navellier v. Sletten (2002) 29 Cal.4th 82,                 discrimination suit arose from the decision to deny the
124 Cal.Rptr.2d 530, 52 P.3d 703. There, the plaintiffs urged            plaintiff tenure and examined whether that decision was
that the defendant’s petitioning activity should receive no              protected, without reference to the alleged discriminatory
protection because it was not a valid exercise of speech and             motive (id. at pp. 1071–1072, 217 Cal.Rptr.3d 130, 393 P.3d
petitioning rights, the defendant having previously waived               905). And in Rand Resources, LLC v. City of Carson, supra, 6
the right to engage in the activity. We disagreed. We                    Cal.5th 610, 243 Cal.Rptr.3d 1, 433 P.3d 899, we considered
acknowledged that the preamble to the statute does reflect a             whether claims for intentional interference with contract
purpose to protect the “valid exercise” of speech and petition           and prospective economic advantage arose from protected
rights. (§ 425.16, subd. (a).) But the Legislature’s expression          activity. The claims rested in part on the defendants’ lobbying
of “a concern in the statute’s preamble with lawsuits that chill         the city council and lobbying on behalf of the city. These
the valid exercise of First Amendment rights does not mean               acts were lawful, considered on their own, but alleged to be
that a court may read a separate proof-of-validity requirement           wrongful because taken with the intent to disrupt existing and
into the operative sections of the statute. [Citations.] Rather,         potential contractual relations. We examined whether the acts
any ‘claimed illegitimacy of the defendant’s acts is an issue            themselves were protected, without ever suggesting that the
which the plaintiff must raise and support in the context of             plaintiffs’ allegations of wrongful motive were sufficient to
the discharge of the plaintiff’s [secondary] burden to provide           remove the lobbying activity from the statute’s aegis. (See id.
a prima facie showing of the merits of the plaintiff’s case.’            at pp. 628–630, 243 Cal.Rptr.3d 1, 433 P.3d 899.) 7
” (Navellier, at p. 94, 124 Cal.Rptr.2d 530, 52 P.3d 703;
see City of Montebello v. Vasquez, supra, 1 Cal.5th at pp.                *6 To be clear, we do not hold that a defendant’s motives
422–425, 205 Cal.Rptr.3d 499, 376 P.3d 624 [lawfulness of                are categorically off-limits in determining whether an act
activity generally addressed in the second step].) To conclude           qualifies as protected activity under the anti-SLAPP statute.
otherwise would effectively shift to the defendant a burden              We hold only that the plaintiff’s allegations cannot be
statutorily assigned to the plaintiff. (See § 425.16, subd. (b)          dispositive of the question. In some cases (including this
(1) [if acts are protected, it is for the “plaintiff [to] establish[ ]   one, as we explain below), whether the defendant’s act
that there is a probability that the plaintiff will prevail on the       qualifies as one in furtherance of protected speech or
claim”].)                                                                petitioning will depend on whether the defendant took the
                                                                         action for speech-related reasons. Nothing in the statutory
Consistent with this understanding, at the first step of the anti-       scheme prevents the defendant from introducing evidence
SLAPP analysis, we routinely have examined the conduct of                establishing such reasons. But there is an important difference
defendants without relying on whatever improper motive the               between permitting the defendant to present evidence of its
plaintiff alleged. For example, in Jarrow Formulas, Inc. v.              own motives in an effort to make out its prima facie case of
LaMarche (2003) 31 Cal.4th 728, 3 Cal.Rptr.3d 636, 74 P.3d               protected activity and treating a plaintiff’s allegations of illicit
737, we considered whether claims for malicious prosecution              motive as a bar to anti-SLAPP protection, as Wilson would
could be subject to an anti-SLAPP motion. The plaintiff urged            have us do here.
that filing an action without probable cause was not activity



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To conclude otherwise would effectively immunize claims             in a discrimination suit must show that the complained-of
of discrimination or retaliation from anti-SLAPP scrutiny,          adverse action, in and of itself, is an act in furtherance of its
even though the statutory text establishes no such immunity.        speech or petitioning rights. Cases that fit that description are
As originally drafted, “[n]othing in the statute itself             the exception, not the rule.
categorically exclude[d] any particular type of action from its
operation.” (Navellier v. Sletten, supra, 29 Cal.4th at p. 92,      A brief survey of the case law illustrates the point. For
124 Cal.Rptr.2d 530, 52 P.3d 703.) And although subsequent          example, in Martin v. Inland Empire Utilities Agency (2011)
amendments to the statutory scheme have added exclusions            198 Cal.App.4th 611, 624–625, 130 Cal.Rptr.3d 410, the
(see Code Civ. Proc., § 425.17; Simpson Strong-Tie Co., Inc.        court denied a government agency’s motion to strike an
v. Gore, supra, 49 Cal.4th at pp. 21–22, 109 Cal.Rptr.3d            employee’s discrimination claim because the claim arose
329, 230 P.3d 1117), there are none for discrimination or           from various actions that had culminated in the employee’s
retaliation actions. Nor can we infer that failure to include       constructive discharge, even though the complaint also
such an exception was a legislative oversight. After all, a         mentioned statements critical of the plaintiff’s performance.
meritless discrimination claim, like other meritless claims, is     In McConnell v. Innovative Artists Talent & Literary Agency,
capable of “chill[ing] the valid exercise of the constitutional     Inc. (2009) 175 Cal.App.4th 169, 176–177, 96 Cal.Rptr.3d
rights of freedom of speech and petition for the redress of         1, the plaintiffs sued over the modification of their job
grievances.” (§ 425.16, subd. (a); see Ingels v. Westwood One       duties and subsequent termination in retaliation for their filing
Broadcasting Services, Inc. (2005) 129 Cal.App.4th 1050,            lawsuits; that these allegedly retaliatory acts were conveyed
1064, 28 Cal.Rptr.3d 933 [upholding strike of caller’s age          in writing did not render them protected. And in Department
discrimination claim against call-in radio talk show].)             of Fair Employment & Housing v. 1105 Alta Loma Road
                                                                    Apartments, LLC (2007) 154 Cal.App.4th 1273, 1284–1285,
Wilson, echoing the Court of Appeal, expresses concern that         65 Cal.Rptr.3d 469, the plaintiff’s disability discrimination
if the plaintiff’s allegations of discriminatory motives are not    claims arose from a landlord’s failure to accommodate
considered at the first step of the anti-SLAPP analysis, “          a disability by giving sufficient time to seek alternative
‘most, if not all, harassment, discrimination, and retaliation      housing, not the unlawful detainer action the landlord filed.
cases [will be subject] to motions to strike.’ ” (Wilson, supra,
6 Cal.App.5th at p. 835, rev. granted, quoting Nam v. Regents        *7 In the relatively unusual case in which the discrimination
of University of California, supra, 1 Cal.App.5th at p. 1189,       or retaliation defendant does meet its first-step burden of
205 Cal.Rptr.3d 687.) This result would impose substantial          showing that its challenged actions qualify as protected
burdens on discrimination and retaliation plaintiffs, who           activity, the burden shifts to the plaintiff. But the plaintiff’s
would be compelled to establish the potential merit of their        second-step burden is a limited one. The plaintiff need not
claims at an early stage of the litigation, generally “without      prove her case to the court (Briggs v. Eden Council for Hope
the benefit of discovery and with the threat of attorney fees       & Opportunity, supra, 19 Cal.4th at p. 1123, 81 Cal.Rptr.2d
looming.” (Nam, at p. 1189, 205 Cal.Rptr.3d 687; accord,            471, 969 P.2d 564); the bar sits lower, at a demonstration of
Bonni v. St. Joseph Health System, supra, 13 Cal.App.5th at         “minimal merit” (Navellier v. Sletten, supra, 29 Cal.4th at p.
p. 864, rev. granted; see Wilson, at p. 835.)                       89, 124 Cal.Rptr.2d 530, 52 P.3d 703). At this stage, “ ‘[t]he
                                                                    court does not weigh evidence or resolve conflicting factual
The concern is overstated. We see no realistic possibility          claims. Its inquiry is limited to whether the plaintiff has stated
that anti-SLAPP motions will become a routine feature               a legally sufficient claim and made a prima facie factual
of the litigation of discrimination or retaliation claims.          showing sufficient to sustain a favorable judgment. It accepts
The anti-SLAPP statute does not apply simply because an             the plaintiff’s evidence as true, and evaluates the defendant’s
employer protests that its personnel decisions followed, or         showing only to determine if it defeats the plaintiff’s claim
were communicated through, speech or petitioning activity. A        as a matter of law.’ ” (Sweetwater Union High School Dist.
claim may be struck under the anti-SLAPP statute “only if the       v. Gilbane Building Co. (2019) 6 Cal.5th 931, 940, 243
speech or petitioning activity itself is the wrong complained       Cal.Rptr.3d 880, 434 P.3d 1152, quoting Baral v. Schnitt
of, and not just evidence of liability or a step leading to some    (2016) 1 Cal.5th 376, 384–385, 205 Cal.Rptr.3d 475, 376
different act for which liability is asserted.” (Park, supra, 2     P.3d 604; see Wilson v. Parker, Covert & Chidester (2002) 28
Cal.5th at p. 1060, 217 Cal.Rptr.3d 130, 393 P.3d 905.) Put         Cal.4th 811, 821, 123 Cal.Rptr.2d 19, 50 P.3d 733.)
differently, to carry its burden at the first step, the defendant



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True, in the absence of discovery, even this reduced barrier       With these principles in mind, we return to the allegations
could pose particular difficulties for discrimination and          in Wilson’s complaint. Wilson alleges a range of adverse
retaliation plaintiffs, whose claims depend on assertions of       employment actions, but the most prominent is CNN’s
motive that are peculiarly within the defendant’s knowledge.       decision in January 2014 to terminate him. Expressly or
But “[c]ourts deciding anti-SLAPP motions ... are empowered        implicitly, Wilson’s firing supplies an element of the first six
to mitigate their impact by ordering, where appropriate,           claims in the complaint. These claims thus all arise—at least
‘that specified discovery be conducted notwithstanding’            in part—from this adverse action. (See Park, supra, 2 Cal.5th
the motion’s pendency.” (Equilon Enterprises v. Consumer           1057, 217 Cal.Rptr.3d 130, 393 P.3d 905.) We therefore begin
Cause, Inc., supra, 29 Cal.4th at p. 66, 124 Cal.Rptr.2d 507,      by considering whether firing Wilson qualifies as an act in
52 P.3d 685, quoting § 425.16, subd. (g).) A court exercising      furtherance of CNN’s right to free speech. (§ 425.16, subd.
its discretion to grant or deny a motion under section 425.16,     (b)(1).)
subdivision (g) should remain mindful that the anti-SLAPP
statute was adopted to end meritless suits targeting protected      *8 CNN is a cable and Internet news organization. Its
speech, “not to abort potentially meritorious claims due to        publication of news concerning matters of public interest is an
a lack of discovery.” (Sweetwater Union High School Dist.          exercise of free speech rights secured by the state and federal
v. Gilbane Building Co., supra, 6 Cal.5th at p. 949, 243           Constitutions. 8 CNN does not contend the termination of
Cal.Rptr.3d 880, 434 P.3d 1152.) Where a defendant relies          Wilson’s employment is itself speech. But to insulate the
on motive evidence in support of an anti-SLAPP motion,             exercise of free speech rights against chilling litigation, the
a plaintiff’s request for discovery concerning the asserted        Legislature has defined protected activity to include not only
motive may often present paradigmatic “good cause.” (§             the act of speaking, but “any other conduct in furtherance
425.16, subd. (g).)                                                of the exercise of” constitutional speech rights on matters
                                                                   of public interest. (§ 425.16, subd. (e)(4).) CNN makes two
With careful attention to the limited nature of a plaintiff’s      arguments for application of that provision here. First, it
second step showing, and to granting discovery in appropriate      argues that its selection of content producers is conduct
cases, courts can mitigate the burden of anti-SLAPP                in furtherance of its exercise of speech rights. Second, it
enforcement on discrimination and retaliation plaintiffs, even     argues that its decision to enforce its journalistic standards by
if they cannot eliminate it altogether. If the Legislature         terminating a writer for alleged plagiarism constitutes conduct
believes the residual burden is unnecessary or excessive, it       in furtherance of protected activity.
certainly can adjust the statutory scheme, as it has before. We
cannot, however, rewrite the statute to create an exception the    The anti-SLAPP statute provides no explicit guidance for
Legislature has not enacted.                                       evaluating these arguments. Section 425.16, subdivision (e)
                                                                   (4), does not define precisely how, or to what extent, conduct
In sum, we conclude that for anti-SLAPP purposes                   must further the exercise of speech or petition rights to
discrimination and retaliation claims arise from the adverse       merit protection. At a minimum, the subdivision shields
actions allegedly taken, notwithstanding the plaintiff’s           expressive conduct—the burning of flags, the wearing of
allegation that the actions were taken for an improper purpose.    armbands, and the like—that, although not a “written or
If conduct that supplies a necessary element of a claim is         oral statement or writing” (§ 425.16, subd. (e)(1)–(3)), may
protected, the defendant’s burden at the first step of the anti-   similarly communicate views regarding “matters of public
SLAPP analysis has been carried, regardless of any alleged         significance” (id., subd. (a)). (See, e.g., Texas v. Johnson
motivations that supply other elements of the claim. We            (1989) 491 U.S. 397, 404–406, 109 S.Ct. 2533, 105 L.Ed.2d
disapprove Bonni v. St. Joseph Health System, supra, 13            342 [flag burning]; Tinker v. Des Moines School Dist.
Cal.App.5th 851, review granted, and Nam v. Regents of             (1969) 393 U.S. 503, 505–506, 89 S.Ct. 733, 21 L.Ed.2d
University of California, supra, 1 Cal.App.5th 1176, 205           731 [armbands].) Indeed, the legislative history suggests
Cal.Rptr.3d 687, to the extent they are inconsistent with this     expressive conduct was foremost in the Legislature’s thinking
conclusion.
                                                                   when subdivision (e)(4) was added. 9 But the text’s reference
                                                                   to acts “in furtherance” of speech or petitioning rights can also
                                                                   reasonably be read to extend to at least certain conduct that,
                              B.                                   though itself containing no expressive elements, facilitates
                                                                   expression.


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                                                                  report, or even edit on its behalf. (Associated Press v.
A news organization’s hiring or firing of employees—like          Labor Board (1937) 301 U.S. 103, 130–133, 57 S.Ct. 650,
virtually everything a news organization does—facilitates         81 L.Ed. 953 (Associated Press).) In Associated Press,
the organization’s speech to some degree. But it does not         the National Labor Relations Board (NLRB) charged the
follow that everything the news organization does qualifies       respondent news organization with unlawfully discharging an
as protected activity under the anti-SLAPP statute. The           editorial employee for engaging in union activity and ordered
First Amendment does not immunize news organizations              the employee reinstated. Challenging the NLRB’s order
from laws of general applicability “simply because their          on First Amendment grounds, the news organization urged
enforcement ... has incidental effects on [the press’s] ability   that “whatever may be the case with respect to employees
to gather and report the news.” (Cohen v. Cowles Media            in its mechanical departments it must have absolute and
Co. (1991) 501 U.S. 663, 669, 111 S.Ct. 2513, 115 L.Ed.2d         unrestricted freedom to employ and to discharge those who ...
586.) We likewise do not read the anti-SLAPP statute to           edit the news.” (Id. at p. 131, 57 S.Ct. 650.) The Supreme
call for preliminary screening of every claim that might be       Court rejected this as an “unsound generalization” (ibid.),
brought against a news organization, merely because the           noting that the constitutional guarantees of free speech and a
claim might have incidental effects on the organization’s         free press afford “[t]he publisher of a newspaper ... no special
operation. The question we must consider is whether, and          immunity from the application of general laws” (id. at p. 132,
when, a news organization’s selection of its employees bears      57 S.Ct. 650; see Pittsburgh Press Co. v. Human Rel. Comm’n
a sufficiently substantial relationship to the organization’s     (1973) 413 U.S. 376, 382–383, 93 S.Ct. 2553, 37 L.Ed.2d
ability to speak on matters of public concern to qualify as       669; Shulman v. Group W Productions, Inc. (1998) 18 Cal.4th
conduct in furtherance of constitutional speech rights.           200, 239, 74 Cal.Rptr.2d 843, 955 P.2d 469). Regulation of
                                                                  the press’s labor practices was permissible, provided it left
                                                                  untrammeled “the full freedom and liberty of the petitioner
                                                                  to publish the news as it desires it published or to enforce
                              1.
                                                                  policies of its own choosing with respect to the editing and
 *9 We begin with the first, and broader, of CNN’s two            rewriting of news for publication.” (Associated Press, at p.
arguments: that its decisions to hire or fire writers and         133, 57 S.Ct. 650.)
other content producers categorically qualify as conduct in
furtherance of its speech rights. The argument rests on two       Courts in various contexts have applied these principles
basic propositions. One, the right of a news organization         to distinguish between permissible regulation and
to speak includes the right to exercise editorial control and     unconstitutional interference with a newspaper’s editorial
judgment—that is, the right to choose what news it will           judgment. In Passaic Daily News v. N.L.R.B. (D.C. Cir.
report and how the news will be reported. (Miami Herald           1984) 736 F.2d 1543, 1549, for example, the court
Publishing Co. v. Tornillo (1974) 418 U.S. 241, 258, 94           held that the NLRB could order the reinstatement of a
S.Ct. 2831, 41 L.Ed.2d 730.) And two, an entity can act           newspaper columnist unlawfully discharged for engaging
and speak only through the individuals that comprise and          in union activity, though it drew the line at compulsory
represent it. The law thus recognizes that, to exercise certain   future publication of his weekly column. In McDermott v.
First Amendment freedoms, such as the right of free exercise      Ampersand Pub., LLC (9th Cir. 2010) 593 F.3d 950, in
of religion, an entity “must retain the corollary right to        contrast, the court invalidated an NLRB order requiring
select its voice.” (Petruska v. Gannon University (3d Cir.        reinstatement of news reporters and editors, but it did
2006) 462 F.3d 294, 306; see ibid. [ministerial exception to      so because these individuals had been discharged for
federal employment discrimination law]; accord, Hosanna-          “union activity directed at pressuring the newspaper’s owner
Tabor Evangelical Lutheran Church and School v. EEOC              and publisher to refrain from exercising editorial control
(2012) 565 U.S. 171, 185, 132 S.Ct. 694, 181 L.Ed.2d 650 [“it     over news reporting”; the court explained that under the
is impermissible for the government to contradict a church’s      circumstances, relief “in support of union activity aimed
determination of who can act as its ministers”].)                 at obtaining editorial control poses a threat of violating”
                                                                  the newspaper’s First Amendment editorial rights. (Id. at p.
But in the area of press freedoms, it has long been               953; but see id. at pp. 968–971 (dis. opn. of Hawkins, J.)
established that the First Amendment does not guarantee           [injunction ordering reinstatement does not risk 1st Amend.
a news organization absolute control over who may write,          infringement].) In Nelson v. McClatchy Newspapers (1997)



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131 Wash.2d 523, 936 P.2d 1123, the Washington Supreme               reporter has no free-standing First Amendment right to have
Court held that the First Amendment partially invalidated            her articles published by a privately-owned newspaper for
a statute prohibiting discrimination against employees for           which she works.”].) Suits over the hiring and firing of such
political participation because, in its judgment, the nature         employees—without more—pose no comparable threat to the
of the regulation directly interfered with the plaintiff             exercise of editorial discretion.
newspaper’s ability to maintain journalistic integrity and
credibility by restricting its employees’ political activism. (Id.   As the movant, CNN has the burden of showing Wilson’s role
at p. 1133; but see id. at p. 1133 (dis. opn. of Dolliver, J.)       bore such a relationship to its exercise of editorial control as
[“The First Amendment does not give a newspaper immunity             to warrant protection under the anti-SLAPP statute. CNN has
from general laws absent a showing of interference with the          failed to make that showing. CNN does not contend that as
newspaper’s right to determine what to print.”].) 10                 a field producer Wilson had authority to decide what CNN
                                                                     would air. Instead, CNN relies solely on Wilson’s part-time
 *10 The considerations raised in these cases differ, but            role as a writer for its website, a comparatively minor part
the bottom line is this: Not every staffing decision a news          of his duties. But CNN does not demonstrate that Wilson,
organization makes—even with respect to those who write,             in his capacity as a writer, had authority to determine what
edit, or otherwise produce content—enjoys constitutional             would appear on CNN’s website. Indeed, the facts of this
protection. As a general rule, application of laws prohibiting       case demonstrate the contrary. Wilson’s work was vetted
racial and other forms of discrimination will leave the              and reviewed by others who did have editorial power, and
organization with “the full freedom and liberty” to “publish         who decided whether his work should—or in the case of the
the news as it desires it published.” (Associated Press, supra,      Baca story, should not—be published by CNN. As far as
301 U.S. at p. 133, 57 S.Ct. 650.) It follows that, also as a        the record shows, Wilson was one of countless employees
general rule, a legal challenge to a particular staffing decision    whose work contributes to what a large news organization
will have no substantial effect on the news organization’s           like CNN says about the issues of the day, but was not
ability to speak on public issues, which is the anti-SLAPP           among those who appear on-air to speak for the organization
statute’s concern.                                                   or exercise authority behind the scenes to determine CNN’s
                                                                     message. CNN’s decisions concerning which assignments to
Like most general rules, this one does admit of exceptions.          give Wilson and whether to continue employing him, without
Indeed, Wilson himself acknowledges that in some instances a         more, had no substantial relationship to CNN’s ability to
news organization’s hiring decisions could qualify as conduct        speak on matters of public concern. It follows that a claim
in furtherance of the organization’s constitutionally protected      based on these decisions, without more, falls outside the reach
speech on matters of public interest. He agrees, for example,        of the anti-SLAPP statute.
that a television producer’s decision about whom to cast
in a program can constitute part of the message conveyed,
thus meriting anti-SLAPP protection. (Cf. Hunter v. CBS                                             2.
Broadcasting Inc., supra, 221 Cal.App.4th at p. 1527, 165
Cal.Rptr.3d 123 [holding that choice of on-air employee to            *11 CNN’s second, and narrower, argument focuses on
speak on behalf of news organization furthers organization’s         its specific asserted reason for terminating Wilson—his
exercise of speech rights].) Likewise, the decision to hire or       alleged plagiarism—rather than his general role as a content
fire an employee who is vested with ultimate authority to            producer. In support of its motion, CNN submitted numerous
determine a news organization’s message might well have              declarations attesting that it became aware of possible
a substantial effect on the organization’s ability to speak as       plagiarism by Wilson, investigated the possibility, and elected
it chooses on matters of public concern. Lawsuits directed           to terminate Wilson based on its findings. CNN’s declarations
at influencing the selection of individuals who wield that           also detail CNN’s prohibition against plagiarism, its policy
type of ultimate authority could chill participation in the          of sanctioning employees who engage in plagiarism, and the
discussion of public issues, as surely as suits targeting the        editorial controls CNN has in place to ensure plagiarism will
act of speaking itself. But not so with other employees in           not occur.
a newsroom who may contribute to, but lack ultimate say
over, their employer’s speech. (See Manson v. Little Rock            Wilson acknowledges his termination followed an
Newspapers, Inc. (E.D.Ark. 1999) 42 F.Supp.2d 856, 865 [“A           investigation into plagiarism, though he disputes CNN’s



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conclusions and claims the plagiarism rationale was                  public issue or an issue of public interest.” (Id., § sub. (e)
pretextual. We need not, however, determine whether Wilson           (4).) CNN presented evidence tending to show that its ability
plagiarized, or whether any plagiarism was a true motive             to participate meaningfully in public discourse on these
for his termination. The question is only whether CNN has            subjects depends on its integrity and credibility. Plagiarism
made out a prima facie case that activity underlying Wilson’s        is universally recognized as a serious breach of journalistic
claims is protected. (City of Montebello v. Vasquez, supra, 1        ethics. Disciplining an employee for violating such ethical
Cal.5th at p. 420, 205 Cal.Rptr.3d 499, 376 P.3d 624; Simpson        standards furthers a news organization’s exercise of editorial
Strong-Tie Co., Inc. v. Gore, supra, 49 Cal.4th at p. 21, 109        control to ensure the organization’s reputation, and the
Cal.Rptr.3d 329, 230 P.3d 1117.)                                     credibility of what it chooses to publish or broadcast, is
                                                                     preserved. These objectives lie “at the core” of the press
CNN’s plagiarism rationale for terminating Wilson evokes             function. (Newspaper Guild, supra, 636 F.2d at p. 560; see
a line of cases concerning the right of news organizations           id. at p. 561.) CNN has made out a prima facie case that its
to maintain and enforce standards of journalistic ethics.            staffing decision was based on such considerations, and that
In Newspaper Guild, etc. v. N.L.R.B. (D.C. Cir. 1980)                such decisions protect the ability of a news organization to
636 F.2d 550 (Newspaper Guild), the D.C. Circuit held                contribute credibly to the discussion of public matters. The
that a newspaper’s code of ethics—unlike other terms                 staffing decision thus qualifies as “conduct in furtherance” of
of employment—is not the proper subject of mandatory                 CNN’s “speech in connection with” public matter. (§ 425.16,
collective bargaining. It explained: “[P]rotection of the            subd. (e)(4).)
editorial integrity of a newspaper lies at the core of publishing
control. In a very real sense, that characteristic is to a            *12 But CNN’s invocation of journalistic ethics only takes
newspaper or magazine what machinery is to a manufacturer.           it so far. The lone act CNN justifies as motivated by the
At least with respect to most news publications, credibility         need to enforce editorial standards forbidding plagiarism is
is central to their ultimate product and to the conduct of the       its termination of Wilson. CNN’s own evidence demonstrates
enterprise. ... [¶] ... [A] news publication must be free to         that it was unaware of any potential plagiarism until a few
establish[,] without interference, reasonable rules designed to      weeks before Wilson was let go. CNN has thus carried its
prevent its employees from engaging in activities which may          first-step burden only insofar as Wilson’s employment-related
directly compromise their standing as responsible journalists        claims arise from his termination. To the extent Wilson’s
and that of the publication for which they work as a medium of       causes of action include claims of illegal discrimination
integrity.” (Id. at pp. 560–561, fns. omitted.) The Washington       and retaliation based on other acts—passing him over for
Supreme Court would later draw on this reasoning to                  promotions, menial assignments, and so on—these causes of
invalidate the state’s political participation law as applied to a   action will survive, even if the termination-specific claims are
newspaper that had adopted rules against employees’ political        stricken. (See Baral v. Schnitt, supra, 1 Cal.5th at pp. 393–
activism. (Nelson v. McClatchy Newspapers, supra, 936 P.2d           394, 205 Cal.Rptr.3d 475, 376 P.3d 604 [anti-SLAPP motions
at pp. 1131–1132.) “Editorial integrity and credibility,” it         target only those claims within a cause of action that rest on
held, “are core objectives of editorial control and thus merit       protected activity].)
protection under the free press clauses.” (Id. at p. 1131.)
                                                                     Because the Court of Appeal concluded CNN had wholly
We need not precisely delineate the reach of the relevant            failed to meet its first-step burden, it did not address whether
constitutional principles here. (City of Montebello v. Vasquez,      Wilson’s termination claims must be stricken, or whether
supra, 1 Cal.5th at pp. 421–422, 205 Cal.Rptr.3d 499, 376            they instead have the requisite minimal merit to proceed. We
P.3d 624.) The only question before us is whether, as CNN            remand on these claims so the Court of Appeal may address
argues, its decision to terminate Wilson for plagiarism was          that issue in the first instance.
conduct “in furtherance of” the organization’s speech rights
within the meaning of section 425.16, subdivisions (b)(1) and
(e). We conclude it was.
                                                                                                   IV.

Online and on air, CNN covers myriad “matters of public              We turn next to Wilson’s defamation claim. According to
significance.” (§ 425.16, subd. (a).) Its broadcasts and             the complaint, CNN told third parties, including prospective
publications include extensive “speech in connection with a          employers, that Wilson “had plagiarized ... passages in



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the Baca story and thereby violated CNN standards and               similar contextual references to help courts discern the type of
           11
practices.” Wilson’s declaration also describes a statement         conduct and speech to protect” (id. at p. 144, 246 Cal.Rptr.3d
by a CNN human resources manager, at a meeting with                 591, 439 P.3d 1156). But when a general provision follows
Wilson and Wilson’s supervisor, defendant Peter Janos, that         specific examples, as subdivision (e)(4) follows subdivision
Wilson had plagiarized. Wilson and CNN disagree over                (e)(1) through (e)(3), we generally understand that provision
whether these statements were “conduct in furtherance of the        as “ ‘ “restricted to those things that are similar to those which
exercise of [free speech rights] in connection with a public        are enumerated specifically.” ’ ” (Costco Wholesale Corp. v.
issue or an issue of public interest.” (§ 425.16, subd. (e)(4).)    Superior Court (2009) 47 Cal.4th 725, 743, 101 Cal.Rptr.3d
We conclude they were not.                                          758, 219 P.3d 736; accord, FilmOn.com Inc., at p. 144, 246
                                                                    Cal.Rptr.3d 591, 439 P.3d 1156.)

                                                                    The common thread that runs through subdivision (e)(1)
                               A.                                   through (e)(3) is that each provision protects speech that
                                                                    contributes to the public discussion or resolution of public
In contrast to Wilson’s employment-related claims, Wilson’s
                                                                    issues—a thread that also ties these provisions together
defamation claim is based on CNN’s speech rather than any
                                                                    with the statute’s stated purpose of furthering “continued
tangible action. A casual reader of the anti-SLAPP statute
                                                                    participation in matters of public significance.” (§ 425.16,
might wonder whether this makes a difference, since unlike
                                                                    subd. (a).) It follows that a defendant who claims its speech
the other provisions of subdivision (e) of section 425.16,
                                                                    was protected as “conduct in furtherance of the exercise of
subdivision (e)(4) refers to “conduct,” not “statement[s].” But
                                                                    [free speech rights] in connection with a public issue or an
courts (including this one) have generally assumed that this
                                                                    issue of public interest” (id., subd. (e)(4)) must show not only
reference to “conduct” includes oral or written statements, 12      that its speech referred to an issue of public interest, but also
and a closer reading of the statute reveals why the assumption      that its speech contributed to public discussion or resolution
is correct.                                                         of the issue (see FilmOn.com Inc. v. DoubleVerify Inc., supra,
                                                                    7 Cal.5th at pp. 150–152, 246 Cal.Rptr.3d 591, 439 P.3d 1156;
The reason is straightforward: Section 425.16, subdivision          City of Industry v. City of Fillmore (2011) 198 Cal.App.4th
(e)(1), (2), and (3), each describe circumstances in which a        191, 217–218, 129 Cal.Rptr.3d 433; Wilbanks v. Wolk, supra,
“written or oral statement or writing” is eligible for protection   121 Cal.App.4th at p. 898, 17 Cal.Rptr.3d 497).
as an “act” in furtherance of speech or petitioning rights—
when the statement is made before an official proceeding,
made in a public place on a public issue, and so on.
Subdivision (e)(4) extends protection to “any other conduct”                                       B.
that meets the requirements specified in that subdivision.
                                                                    CNN argues its statements were in connection with three
Even though the word “conduct” is often used, particularly
                                                                    issues of public significance: Los Angeles County Sheriff
in the First Amendment context, in contradistinction to
                                                                    Lee Baca’s retirement, Wilson’s plagiarism, and the general
“speech,” the use of the phrase “other conduct” (ibid., italics
                                                                    subject of journalistic ethics. Considering each in turn, we
added) indicates the Legislature regarded the acts of speaking
                                                                    conclude Wilson’s defamation claim does not arise from
or writing identified in the preceding provisions as “conduct”
                                                                    speech on “a public issue or an issue of public interest” (§
too. It follows that “conduct” in subdivision (e)(4) is intended
                                                                    425.16, subd. (e)(4)) that contributed to public discussion of
to embrace speech, as well as tangible action. To the extent
                                                                    that issue.
there is any doubt, we construe the statute broadly to achieve
its purposes. (§ 425.16, subd. (a).)
                                                                    Sheriff Baca’s retirement was indeed a matter of public

 *13 The harder question concerns precisely what kinds              interest. 13 But Wilson’s claim does not rest on statements
of speech are covered by subdivision (e)(4). Unlike its             CNN made about that subject; it rests instead on statements
neighboring subdivisions—which define protected conduct             about the reason for Wilson’s termination. The story Wilson
“not only by its content, but also by its location, its audience,   wrote could have been about some other topic entirely—the
and its timing” (FilmOn.com Inc. v. DoubleVerify Inc., supra,       state of global financial markets, gardening tips, or anything
7 Cal.5th at p. 143, 246 Cal.Rptr.3d 591, 439 P.3d 1156)—           else under the sun—and his defamation claim would be the
the “catchall” provision of subdivision (e)(4) contains “no         same. CNN’s alleged statements, although they tangentially


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referenced Sheriff Baca’s retirement, did not contribute to any   for dismissing prominent university football coach of public
public, or even private, discussion of that subject. It follows   interest] ).
that the defamation claim does not arise from statements made
“in connection with” any public issue related to Sheriff Baca’s   CNN argues the Court of Appeal erred by making Wilson’s
retirement. (§ 425.16, subd. (e)(4).)                             status as a figure in the public eye a necessary component of
                                                                  any showing that CNN’s statement about him was protected
 *14 CNN contends the actual subject of its statement,            activity. But the Court of Appeal did no such thing. Rather,
Wilson’s professional competence and the reasons for his          the court held that if Wilson were a figure in the public eye,
termination, is also an issue of public interest. But not         that status could be a sufficient basis to conclude statements
every employment dispute—even at a prominent news                 about him would be on a matter of public interest. (Wilson,
organization—is a matter of public significance. Certainly        supra, 6 Cal.App.5th at pp. 832–833, rev. granted.) Other
some individuals may be so prominent, or in such a prominent      grounds might also have justified that conclusion even if
position, that any discussion of them concerns a matter of        Wilson were not well-known. (Ibid.) We hold likewise: that
public interest. (See McGarry v. University of San Diego,         a statement is about a person or entity in the public eye may
supra, 154 Cal.App.4th at p. 110, 64 Cal.Rptr.3d 467.) But        be sufficient, but is not necessary, to establish the statement
absent unusual circumstances, a garden-variety employment         is “free speech in connection with a public issue or an issue
dispute concerning a nonpublic figure will implicate no           of public interest.” (§ 425.16, subd. (e)(4); see FilmOn.com
public issue. (See, e.g., Baughn v. Department of Forestry        Inc. v. DoubleVerify Inc., supra, 7 Cal.5th at pp. 145–146, 246
& Fire Protection (2016) 246 Cal.App.4th 328, 337–339,            Cal.Rptr.3d 591, 439 P.3d 1156; Rand Resources, LLC v. City
200 Cal.Rptr.3d 764; Albanese v. Menounos (2013) 218              of Carson, supra, 6 Cal.5th at p. 621, 243 Cal.Rptr.3d 1, 433
Cal.App.4th 923, 934–937, 160 Cal.Rptr.3d 546; Carpenter          P.3d 899.)
v. Jack in the Box Corp. (2007) 151 Cal.App.4th 454, 472,
59 Cal.Rptr.3d 839; Olaes v. Nationwide Mutual Ins. Co.           CNN’s final argument is that, even if Wilson is not a figure
(2006) 135 Cal.App.4th 1501, 1510–1511, 38 Cal.Rptr.3d            in the public eye, discussion of his termination implicates
467; Du Charme v. International Brotherhood of Electrical         a larger issue that indisputably is of public interest—
Workers (2003) 110 Cal.App.4th 107, 113–119, 1 Cal.Rptr.3d        journalistic ethics. This argument rests on “what might be
501; Rivero v. American Federation of State, County and           called the synecdoche theory of public issue in the anti-
Municipal Employees, AFL-CIO (2003) 105 Cal.App.4th               SLAPP statute” (Commonwealth Energy Corp. v. Investor
913, 919–929, 130 Cal.Rptr.2d 81.) Workplace misconduct           Data Exchange, Inc. (2003) 110 Cal.App.4th 26, 34, 1
“below some threshold level of significance is not an             Cal.Rptr.3d 390): that the discussion of a purported lapse on
issue of public interest, even though it implicates a public      the part of one of its writers is equivalent to a conversation
policy.” (Rivero, at p. 924, 130 Cal.Rptr.2d 81.)                 about the ethical lapses of all journalists everywhere. But
                                                                  for anti-SLAPP purposes, as courts have long recognized,
Based on the evidence CNN presented in support of its             “[t]he part is not synonymous with the greater whole.” (Ibid.)
motion, Wilson is not a figure so prominently in the public       Contrary to arguments that various defendants have pressed
eye that any remark about him would qualify as speech             over the years, “[s]elling an herbal breast enlargement product
on a matter of public concern. CNN cites as proof of              is not a disquisition on alternative medicine. Lying about
Wilson’s prominence the numerous stories Wilson’s lawsuit         the supervisor of eight union workers is not singing one of
and the Court of Appeal decision generated. This reliance         those old Pete Seeger union songs (e.g., ‘There Once Was
is unavailing: “[T]hose charged with defamation cannot, by        a Union Maid’). And ... hawking an investigatory service is
their own conduct, create their own defense by making the         not an economics lecture on the importance of information
claimant a public figure.” (Hutchinson v. Proxmire (1979)         for efficient markets.” (Ibid.; accord, FilmOn.com Inc. v.
443 U.S. 111, 135, 99 S.Ct. 2675, 61 L.Ed.2d 411.) Nor            DoubleVerify Inc., supra, 7 Cal.5th at p. 152, 246 Cal.Rptr.3d
does Wilson’s own evidence of his awards make him a               591, 439 P.3d 1156; Consumer Justice Center v. Trimedica
person of such notoriety that a statement about the reason        International, Inc. (2003) 107 Cal.App.4th 595, 601, 132
for his termination would necessarily concern an issue of         Cal.Rptr.2d 191; Rivero v. American Federation of State,
public interest (cf. McGarry v. University of San Diego,          County and Municipal Employees, AFL-CIO, supra, 105
supra, 154 Cal.App.4th at p. 110, 64 Cal.Rptr.3d 467 [reasons     Cal.App.4th at pp. 919, 924, 130 Cal.Rptr.2d 81.)




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                                                                    drew from their case study was entitled to anti-SLAPP
 *15 Similarly, here, CNN’s alleged statements about an
                                                                    protection; the speech contributed to discussion of a matter
isolated plagiarism incident did not contribute to public
                                                                    of ongoing public debate. Similarly, the Court of Appeal in
debate about when authors may or may not borrow without
attribution. “What a court scrutinizing the nature of speech        M. G. v. Time Warner, Inc. (2001) 89 Cal.App.4th 623, 107
in the anti-SLAPP context must focus on is the speech               Cal.Rptr.2d 504 held that a magazine article and television
at hand, rather than the prospects that such speech may             program addressing “the general topic of child molestation in
conceivably have indirect consequences for an issue of              youth sports,” a significant public issue, were protected, even
                                                                    though the article and program illustrated their discussion
public concern.” (Rand Resources, LLC v. City of Carson,
                                                                    with examples of specific instances of misconduct. (Id. at
supra, 6 Cal.5th at p. 625, 243 Cal.Rptr.3d 1, 433 P.3d
                                                                    p. 629, 107 Cal.Rptr.2d 504.) No comparable connection
899; see Consumer Justice Center v. Trimedica International,
                                                                    between Wilson’s alleged misconduct and any public issue is
Inc., supra, 107 Cal.App.4th at p. 601, 132 Cal.Rptr.2d
                                                                    present here.
191 [“If we were to accept [defendant’s] argument that
we should examine the nature of the speech in terms of
                                                                    For these reasons, we conclude CNN’s privately
generalities instead of specifics, then nearly any claim could
                                                                    communicated statements about Wilson’s purported violation
be sufficiently abstracted to fall within the anti-SLAPP
                                                                    of journalistic ethics do not constitute “conduct in furtherance
statute”].) To sweep in a claim about falsehoods made
                                                                    of ... the constitutional right of free speech in connection with
regarding a nonpublic figure, where the falsehoods do not
                                                                    a public issue or an issue of public interest.” (§ 425.16, subd.
contribute in any meaningful way to discussion or resolution
                                                                    (e)(4).)
of an ongoing matter of public significance, would do
nothing to advance the statute’s stated purpose of shielding
defendants from meritless lawsuits designed to chill speech
and petitioning on matters of public interest or controversy.                                      V.
(See § 425.16, subd. (a).)
                                                                    CNN has failed to carry its first-step burden with respect
Relevant, too, is the private context of the alleged                to many of Wilson’s claims, but it has met that burden
statements. Granted, private communications may qualify as          with respect to those claims based on the termination of
protected activity in some circumstances. (FilmOn.com Inc. v.       his employment. CNN is therefore entitled to preliminary
DoubleVerify Inc., supra, 7 Cal.5th at p. 146, 246 Cal.Rptr.3d      screening of those claims to determine whether they have
591, 439 P.3d 1156; Navellier v. Sletten, supra, 29 Cal.4th at p.   minimal merit. We affirm the Court of Appeal’s judgment in
91, 124 Cal.Rptr.2d 530, 52 P.3d 703.) But the private context      part, reverse in part, and remand for further proceedings not
eliminates any possibility of protection under section 425.16,      inconsistent with this opinion.
subdivision (e)(3), for example, and here makes heavier
CNN’s burden of showing that, notwithstanding the private
context, the alleged statements nevertheless contributed to         We Concur:
discussion or resolution of a public issue for purposes of
subdivision (e)(4). (See FilmOn.com Inc., at pp. 146, 150–          CANTIL-SAKAUYE, C. J.
151, 246 Cal.Rptr.3d 591, 439 P.3d 1156.)
                                                                    CHIN, J.
This case does not resemble other cases in which speech
                                                                    CORRIGAN, J.
concerning the actions of individual nonpublic figures has
been held to contribute to ongoing debate on a public               LIU, J.
controversy. For example, in Taus v. Loftus (2007) 40 Cal.4th
683, 712–713, 54 Cal.Rptr.3d 775, 151 P.3d 1185, we                 CUÉLLAR, J.
considered the case of two scholars who had investigated
                                                                    GROBAN, J.
a claimed instance of repressed memory recovery and who
had published and lectured on the case study to urge caution        All Citations
in acceptance of such memories. We had no difficulty
concluding the scholars’ speech concerning the lessons they         --- P.3d ----, 2019 WL 3281342




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Footnotes
1     Wilson was 51 when he was fired. His wife had a medical condition. On these facts, Wilson alleges CNN discriminated
      against him because of his age and association with a disabled person. (See Gov. Code, §§ 12926, subd. (m), 12940,
      subd. (a).)
2     An anti-SLAPP motion seeks to strike a “[s]trategic lawsuit against public participation,” that is, a “SLAPP.” (See Briggs
      v. Eden Council for Hope & Opportunity (1999) 19 Cal.4th 1106, 1109 & fn. 1, 81 Cal.Rptr.2d 471, 969 P.2d 564.)
3     Compare Bonni v. St. Joseph Health System (2017) 13 Cal.App.5th 851, 861, 863–864 (basis for a retaliation claim
      is the defendant’s unprotected retaliatory motive for an adverse action, not the adverse action itself), review granted
      November 1, 2017, S244148; Nam v. Regents of University of California (2016) 1 Cal.App.5th 1176, 1187–1193, 205
      Cal.Rptr.3d 687 (basis includes the defendant’s retaliatory motive) with Symmonds v. Mahoney (2019) 31 Cal.App.5th
      1096, 1108 (alleged “discriminatory motive” does not “negate[ ] protections that otherwise would apply to the defendant’s
      conduct” under the anti-SLAPP statute), review granted April 24, 2019, S254646; Daniel v. Wayans (2017) 8 Cal.App.5th
      367, 380 (courts should focus on allegations of conduct, not motive, because “ ‘ “[c]auses of action do not arise from
      motives; they arise from acts” ’ ”), review granted May 10, 2017, S240704; Hunter v. CBS Broadcasting, Inc. (2013)
      221 Cal.App.4th 1510, 1520, 165 Cal.Rptr.3d 123 (same); Tuszynska v. Cunningham (2011) 199 Cal.App.4th 257, 268–
      269, 131 Cal.Rptr.3d 63 (same); see also San Diegans for Open Government v. San Diego State University Research
      Foundation (2017) 13 Cal.App.5th 76, 104 (in a self-dealing case, concluding the underlying conduct, not the alleged
      motive, is the basis), review granted August 16, 2017, S242529.
4     The other parts of subdivision (e) shield statements and writings made in connection with official proceedings or in public
      on matters of public interest. (See § 425.16, subd. (e)(1)–(3).)
5     These are the elements of a disparate-treatment claim of discrimination—that is, a claim of “intentional discrimination
      against one or more persons on prohibited grounds.” (Guz v. Bechtel National, Inc., supra, 24 Cal.4th at p. 354, fn. 20,
      100 Cal.Rptr.2d 352, 8 P.3d 1089.) A plaintiff may also raise other theories of discrimination or harassment, each of
      which has different elements. (See ibid. [recognizing disparate-impact theory of discrimination, that is, the theory “that
      regardless of motive, a facially neutral employer practice or policy, bearing no manifest relationship to job requirements,
      in fact had a disproportionate adverse effect on members of the protected class”]; Hughes v. Pair (2009) 46 Cal.4th 1035,
      1043, 95 Cal.Rptr.3d 636, 209 P.3d 963 [quid pro quo harassment]; Lyle v. Warner Brothers Television Productions
      (2006) 38 Cal.4th 264, 279, 42 Cal.Rptr.3d 2, 132 P.3d 211 [hostile work environment harassment].) Wilson does not
      rely on any of those theories here.
6     The same is true of the sixth claim for declaratory relief, which is derivative of the other five. The complaint alleges an
      actual controversy as to whether CNN’s decision to terminate Wilson was motivated by discrimination.
7     Many courts of appeal, too, have correctly recognized that the text of the anti-SLAPP statute and our precedent require a
      court at the first step to examine the defendant’s actions without regard to the plaintiff’s allegations about the defendant’s
      motives. (Symmonds v. Mahoney, supra, 31 Cal.App.5th at pp. 1106–1108, 243 Cal.Rptr.3d 445, rev. granted; San
      Diegans for Open Government v. San Diego State University Research Foundation, supra, 13 Cal.App.5th at p. 104, rev.
      granted; Daniel v. Wayans, supra, 8 Cal.App.5th at p. 380, rev. granted; Collier v. Harris (2015) 240 Cal.App.4th 41, 53–
      54, 192 Cal.Rptr.3d 31; DeCambre v. Rady Children’s Hospital-San Diego (2015) 235 Cal.App.4th 1, 22, 184 Cal.Rptr.3d
      888, disapproved on another ground in Park, supra, 2 Cal.5th at p. 1070, 217 Cal.Rptr.3d 130, 393 P.3d 905; Hunter
      v. CBS Broadcasting Inc., supra, 221 Cal.App.4th at p. 1520, 165 Cal.Rptr.3d 123; People ex rel. Fire Ins. Exchange
      v. Anapol (2012) 211 Cal.App.4th 809, 823, 150 Cal.Rptr.3d 224; Nesson v. Northern Inyo County Local Hospital Dist.
      (2012) 204 Cal.App.4th 65, 83, 138 Cal.Rptr.3d 446, disapproved on another ground in Park, supra, 2 Cal.5th at p. 1070,
      217 Cal.Rptr.3d 130, 393 P.3d 905; Tuszynska v. Cunningham, supra, 199 Cal.App.4th at pp. 268–269, 131 Cal.Rptr.3d
      63; Wallace v. McCubbin (2011) 196 Cal.App.4th 1169, 1186, 128 Cal.Rptr.3d 205; Gallanis-Politis v. Medina (2007) 152
      Cal.App.4th 600, 612–613, fn. 8, 61 Cal.Rptr.3d 701.)
8     See Reno v. American Civil Liberties Union (1997) 521 U.S. 844, 870, 117 S.Ct. 2329, 138 L.Ed.2d 874 (publication of
      Internet content entitled to 1st Amend. protection); Turner Broadcasting System, Inc. v. FCC (1994) 512 U.S. 622, 636,
      114 S.Ct. 2445, 129 L.Ed.2d 497 (“Cable programmers ... engage in and transmit speech, and they are entitled to the
      protection of the speech and press provisions of the First Amendment”); Leathers v. Medlock (1991) 499 U.S. 439, 444,
      111 S.Ct. 1438, 113 L.Ed.2d 494 (“Cable television provides to its subscribers news, information, and entertainment.
      It is engaged in ‘speech’ under the First Amendment, and is, in much of its operation, part of the ‘press.’ ”); Park,
      supra, 2 Cal.5th at page 1071, 217 Cal.Rptr.3d 130, 393 P.3d 905 (“The reporting of news, whether in print or on air, is




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      constitutionally protected free speech.”); California Constitution, article I, section 2, subdivision (a) (“Every person may
      freely speak, write and publish his or her sentiments on all subjects ....”).
9     The provision was inserted in 1997, five years after original enactment of the anti-SLAPP statute. The committee reports
      are uniform in describing the motivation for the provision. Proponents asserted “that the constitutional right of free speech
      and petition also includes constitutionally protected expressive conduct.” (Sen. Com. on Judiciary, Analysis of Sen. Bill
      No. 1296 (1997–1998 Reg. Sess.) as amended May 12, 1997, p. 4; Sen. Rules Com., Off. of Sen. Floor Analyses, 3d
      reading analysis of Sen. Bill No. 1296 (1997–1998 Reg. Sess.) as amended June 23, 1997, p. 4.) The Legislature agreed
      and sought to codify the principle that expressive conduct, like expressive speech, is protected activity. (See, e.g., Sen.
      Com. on Judiciary, Analysis of Sen. Bill No. 1296, supra, pp. 3–4; Sen. Rules Com., Off. of Sen. Floor Analyses, 3d
      reading analysis of Sen. Bill No. 1296, supra, p. 4; Assem. Com. on Judiciary, Analysis of Sen. Bill No. 1296 (1997–1998
      Reg. Sess.) as amended May 12, 1997, p. 4.)
10    As another example, in Hausch v. Donrey of Nevada, Inc. (D.Nev. 1993) 833 F.Supp. 822, 832, the federal district court
      rejected a newspaper’s First Amendment defense to the employment discrimination claim of a managing editor based
      on failure to promote her to the position of editor, reasoning that the application of antidiscrimination laws did not burden
      the newspaper’s “ability to control the content and character of their newspaper’s message.”
11    Wilson’s complaint alleges the statements to those outside the company on information and belief. No contextual details
      are provided.
12    See, e.g., FilmOn.com Inc. v. DoubleVerify Inc., supra, 7 Cal.5th at p. 149, 246 Cal.Rptr.3d 591, 439 P.3d 1156 (applying
      § 425.16, subd. (e)(4) to statements); Rand Resources, LLC v. City of Carson, supra, 6 Cal.5th at pp. 621–628, 243
      Cal.Rptr.3d 1, 433 P.3d 899 (same); McGarry v. University of San Diego (2007) 154 Cal.App.4th 97, 109–111, 64
      Cal.Rptr.3d 467 (same); Vogel v. Felice (2005) 127 Cal.App.4th 1006, 1015, 26 Cal.Rptr.3d 350 (same); Wilbanks v.
      Wolk (2004) 121 Cal.App.4th 883, 897–898, 17 Cal.Rptr.3d 497 (same).
13    The sudden, unexpected retirement of a public official (Mather & Sewell, Sheriff Lee Baca’s retirement: ‘Very shocking
      and very surprising,’ L.A. Times (Jan. 7, 2014) <https://www.latimes.com/local/lanow/la-xpm-2014-jan-07-la-me-ln-
      sheriffs-bacas-retirement-very-shocking-and-very-surprising-20140107-story.html> [as of July 22, 2019] ), who later was
      convicted of obstructing the FBI investigation into inmate abuse in county jails (Stevens, Ex-Los Angeles Sheriff Lee Baca
      Is Sentenced to 3 Years in Prison, N.Y. Times (May 12, 2017) <https://www.nytimes.com/2017/05/12/us/lee-baca-los-
      angeles-county-sheriff-sentenced-prison.html> [as of July 22, 2019] ), was a chapter in an ongoing scandal that implicated
      public concerns such as government misfeasance and prison reform. All Internet citations in this opinion are archived by
      year, docket number, and case name at <https://www.courts.ca.gov/38324.htm>.


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    1                            CERTIFICATE OF SERVICE
    2         I, the undersigned, am employed in the County of San Diego, State of
        California. I am over the age of 18 and not a party to the within action; am
    3   employed with the law offices of Fisher & Phillips LLP and my business address
        is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
    4
                On July 24, 2019 I served the foregoing document entitled NOTICE OF
    5   NEW AUTHORITY IN SUPPORT OF DEFENDANT’S SPECIAL MOTION
        TO DISMISS PLAINTIFF’S COMPLAINT on all the appearing and/or
    6   interested parties in this action by placing       the original    a true copy thereof
        enclosed in sealed envelope(s) addressed as follows:
    7
         Evan Dwin (SBN 241027)                       Telephone: (760) 536-6471
    8    DWIN LEGAL, APC                              Facsimile: (760) 585-4649
         2121 Palomar Airport Road, Suite 170 E-Mail: EDwin@DwinLegal.com
    9    Carlsbad, California 92011                   Attorneys for Plaintiff
                                                      Kathryn Kailikole
   10    [by MAIL] - I am readily familiar with the firm's practice of collection and
            processing correspondence for mailing. Under that practice it would be
   11       deposited with the U.S. Postal Service on that same day with postage thereon
            fully prepaid at San Diego, California in the ordinary course of business. I am
   12       aware that on motion of the party served, service is presumed invalid if postage
            cancellation date or postage meter date is more than one day after date of deposit
   13       for mailing this affidavit.
         [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
   14       described via the United States District Court’s Electronic Filing Program on the
            designated recipients via electronic transmission through the CM/ECF system
   15       on the Court’s website. The Court’s CM/ECF system will generate a Notice of
            Electronic Filing (NEF) to the filing party, the assigned judge, and any registered
   16       users in the case. The NEF will constitute service of the document(s).
            Registration as a CM/ECF user constitutes consent to electronic service through
   17       the court’s transmission facilities.
         [by FAX] - I caused the aforementioned document(s) to be telefaxed to the
   18       aforementioned facsimile number(s). The facsimile machine I used complied
            with California Rules of Court, Rule 2003(3) and no error was reported by the
   19       machine. Pursuant to California Rules of Court, Rule 2005(i), I caused the
            machine to print a transmission record of the transmission, a copy of which is
   20       attached to this declaration and/or no error was reported by the machine.
         [by OVERNIGHT SERVICE] - I am readily familiar with the firm’s practice
   21       for collection and processing of correspondence for overnight delivery. Under
            that practice such correspondence will be deposited at a facility or pick-up box
   22       regularly maintained by the overnight service for receipt on the same day in the
            ordinary course of business with delivery fees paid or provided for in accordance
   23       with ordinary business practices.
   24         I declare that I am employed in the office of a member of the bar of this
        Court at whose direction the service was made.
   25
               Executed July 24, 2019 at San Diego, California.
   26
                  Michael Lynn Filio            By:
   27

   28

                                                  1
                                       CERTIFICATE OF SERVICE
        FPDOCS 35819599.1
